Case 2:20-cv-07148-SVW-MRW Document 1 Filed 08/10/20 Page 1 of 8 Page ID #:1




  1     CENTER FOR DISABILITY ACCESS
        Raymond Ballister Jr., Esq., SBN 111282
  2     Russell Handy, Esq., SBN 195058
        Dennis Price, Esq., SBN 279082
  3     Amanda Seabock, Esq., SBN 289900
        Mail: 8033 Linda Vista Road, Suite 200
  4     San Diego, CA 92111
        (858) 375-7385; (888) 422-5191 fax
  5     amandas@potterhandy.com
  6     Attorneys for Plaintiff
  7
  8
  9
                                UNITED STATES DISTRICT COURT
 10                            CENTRAL DISTRICT OF CALIFORNIA
 11
 12     Shirley Lindsay,                         Case No.
 13               Plaintiff,
                                                 Complaint For Damages And
 14       v.                                     Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
 15     Percell M. Keeling, in individual        Act; Unruh Civil Rights Act
        and representative capacity as
 16     Trustee of The Percell M. Keeling
        Living Trust, dated June 20, 2007;
 17     P. M. Keeling Corporation, a
        California Corporation; and Does 1-
 18     10,
 19               Defendants.
 20
 21         Plaintiff Shirley Lindsay complains of Percell M. Keeling, in individual
 22   and representative capacity as Trustee of The Percell M. Keeling Living Trust,
 23   dated June 20, 2007; P. M. Keeling Corporation, a California Corporation; and
 24   Does 1-10 (“Defendants”), and alleges as follows:
 25
 26
        PARTIES:
 27
        1. Plaintiff is a California resident with physical disabilities. She suffers
 28
      from arthritis (osteoarthritis of multiple joints; spinal stenosis of the lumbar

                                             1

      Complaint
Case 2:20-cv-07148-SVW-MRW Document 1 Filed 08/10/20 Page 2 of 8 Page ID #:2




  1   spine; and essential hypertension) of her hands, knees, and hips. She uses both
  2   a cane and wheelchair for mobility.
  3     2. Defendant Percell M. Keeling, in individual and representative capacity
  4   as Trustee of The Percell M. Keeling Living Trust, dated June 20, 2007, owned
  5   the real property located at or about 4508 W. Slauson Avenue, Los Angeles,
  6   California, in January 2019.
  7     3. Defendant Percell M. Keeling, in individual and representative capacity
  8   as Trustee of The Percell M. Keeling Living Trust, dated June 20, 2007, owned
  9   the real property located at or about 4508 W. Slauson Avenue, Los Angeles,
 10   California, in January 2020.
 11     4. Defendant Percell M. Keeling, in individual and representative capacity
 12   as Trustee of The Percell M. Keeling Living Trust, dated June 20, 2007, owns
 13   the real property located at or about 4508 W. Slauson Avenue, Los Angeles,
 14   California, currently.
 15     5. Defendant P. M. Keeling Corporation owned Simply Wholesome
 16   located at or about 4508 W. Slauson Avenue, Los Angeles, California, in
 17   January 2019.
 18     6. Defendant P. M. Keeling Corporation owned Simply Wholesome
 19   located at or about 4508 W. Slauson Avenue, Los Angeles, California, in
 20   January 2020.
 21     7. Defendant P. M. Keeling Corporation owns Simply Wholesome located
 22   at or about 4508 W. Slauson Avenue, Los Angeles, California, currently.
 23     8. Plaintiff does not know the true names of Defendants, their business
 24   capacities, their ownership connection to the property and business, or their
 25   relative responsibilities in causing the access violations herein complained of,
 26   and alleges a joint venture and common enterprise by all such Defendants.
 27   Plaintiff is informed and believes that each of the Defendants herein,
 28   including Does 1 through 10, inclusive, is responsible in some capacity for the


                                             2

      Complaint
Case 2:20-cv-07148-SVW-MRW Document 1 Filed 08/10/20 Page 3 of 8 Page ID #:3




  1   events herein alleged, or is a necessary party for obtaining appropriate relief.
  2   Plaintiff will seek leave to amend when the true names, capacities,
  3   connections, and responsibilities of the Defendants and Does 1 through 10,
  4   inclusive, are ascertained.
  5
  6     JURISDICTION & VENUE:
  7     9. The Court has subject matter jurisdiction over the action pursuant to 28
  8   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
  9   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 10     10. Pursuant to supplemental jurisdiction, an attendant and related cause
 11   of action, arising from the same nucleus of operative facts and arising out of
 12   the same transactions, is also brought under California’s Unruh Civil Rights
 13   Act, which act expressly incorporates the Americans with Disabilities Act.
 14     11. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 15   founded on the fact that the real property which is the subject of this action is
 16   located in this district and that Plaintiff's cause of action arose in this district.
 17
 18     FACTUAL ALLEGATIONS:
 19     12. Plaintiff went to Simply Wholesome in January 2019 and January 2020
 20   with the intention to avail herself of its goods and to assess the business for
 21   compliance with the disability access laws.
 22     13. Simply Wholesome is a facility open to the public, a place of public
 23   accommodation, and a business establishment.
 24     14. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
 25   to provide wheelchair accessible sales counters in conformance with the ADA
 26   Standards as it relates to wheelchair users like the plaintiff.
 27     15. On information and belief, the defendants currently fail to provide
 28   wheelchair accessible sales counters.


                                                3

      Complaint
Case 2:20-cv-07148-SVW-MRW Document 1 Filed 08/10/20 Page 4 of 8 Page ID #:4




  1     16. Additionally, on the dates of the plaintiff’s visits, the defendants failed
  2   to provide wheelchair accessible paths of travel leading to and through Simply
  3   Wholesome in conformance with the ADA Standards as it relates to wheelchair
  4   users like the plaintiff.
  5     17. On information and belief, the defendants currently fail to provide
  6   wheelchair accessible paths of travel in conformance with the ADA Standards
  7   as it relates to wheelchair users like the plaintiff.
  8     18. These barriers relate to and impact the plaintiff’s disability. Plaintiff
  9   personally encountered these barriers.
 10     19. As a wheelchair user, the plaintiff benefits from and is entitled to use
 11   wheelchair accessible facilities. By failing to provide accessible facilities, the
 12   defendants denied the plaintiff full and equal access.
 13     20. The failure to provide accessible facilities created difficulty and
 14   discomfort for the Plaintiff.
 15     21. Even though the plaintiff did not confront the barrier, on information
 16   and belief the defendants currently fail to provide wheelchair accessible
 17   restrooms. Plaintiff seeks to have these barriers removed as they relate to and
 18   impact his disability.
 19     22. The defendants have failed to maintain in working and useable
 20   conditions those features required to provide ready access to persons with
 21   disabilities.
 22     23. The barriers identified above are easily removed without much
 23   difficulty or expense. They are the types of barriers identified by the
 24   Department of Justice as presumably readily achievable to remove and, in fact,
 25   these barriers are readily achievable to remove. Moreover, there are numerous
 26   alternative accommodations that could be made to provide a greater level of
 27   access if complete removal were not achievable.
 28     24. Plaintiff will return to Simply Wholesome to avail herself of its goods


                                                4

      Complaint
Case 2:20-cv-07148-SVW-MRW Document 1 Filed 08/10/20 Page 5 of 8 Page ID #:5




  1   and to determine compliance with the disability access laws once it is
  2   represented to him that Simply Wholesome and its facilities are accessible.
  3   Plaintiff is currently deterred from doing so because of her knowledge of the
  4   existing barriers and her uncertainty about the existence of yet other barriers
  5   on the site. If the barriers are not removed, the plaintiff will face unlawful and
  6   discriminatory barriers again.
  7     25. Given the obvious and blatant nature of the barriers and violations
  8   alleged herein, the plaintiff alleges, on information and belief, that there are
  9   other violations and barriers on the site that relate to her disability. Plaintiff
 10   will amend the complaint, to provide proper notice regarding the scope of this
 11   lawsuit, once she conducts a site inspection. However, please be on notice that
 12   the plaintiff seeks to have all barriers related to her disability remedied. See
 13   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 14   encounters one barrier at a site, she can sue to have all barriers that relate to
 15   her disability removed regardless of whether she personally encountered
 16   them).
 17
 18   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 19   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 20   Defendants.) (42 U.S.C. section 12101, et seq.)
 21     26. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 22   again herein, the allegations contained in all prior paragraphs of this
 23   complaint.
 24     27. Under the ADA, it is an act of discrimination to fail to ensure that the
 25   privileges, advantages, accommodations, facilities, goods and services of any
 26   place of public accommodation is offered on a full and equal basis by anyone
 27   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 28   § 12182(a). Discrimination is defined, inter alia, as follows:


                                              5

      Complaint
Case 2:20-cv-07148-SVW-MRW Document 1 Filed 08/10/20 Page 6 of 8 Page ID #:6




  1            a. A failure to make reasonable modifications in policies, practices,
  2               or procedures, when such modifications are necessary to afford
  3               goods,      services,     facilities,   privileges,   advantages,   or
  4               accommodations to individuals with disabilities, unless the
  5               accommodation would work a fundamental alteration of those
  6               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
  7            b. A failure to remove architectural barriers where such removal is
  8               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
  9               defined by reference to the ADA Standards.
 10            c. A failure to make alterations in such a manner that, to the
 11               maximum extent feasible, the altered portions of the facility are
 12               readily accessible to and usable by individuals with disabilities,
 13               including individuals who use wheelchairs or to ensure that, to the
 14               maximum extent feasible, the path of travel to the altered area and
 15               the bathrooms, telephones, and drinking fountains serving the
 16               altered area, are readily accessible to and usable by individuals
 17               with disabilities. 42 U.S.C. § 12183(a)(2).
 18     28. When a business provides facilities such as sales or transaction counters,
 19   it must provide accessible sales or transaction counters.
 20     29. Here, accessible sales or transaction counters have not been provided in
 21   conformance with the ADA Standards.
 22     30. When a business provides facilities such as paths of travel, it must
 23   provide accessible paths of travel.
 24     31. Here, accessible paths of travel have not been provided in conformance
 25   with the ADA Standards.
 26     32. When a business provides facilities such as restrooms, it must provide
 27   accessible restrooms.
 28     33. Here, accessible restrooms have not been provided in conformance with


                                                6

      Complaint
Case 2:20-cv-07148-SVW-MRW Document 1 Filed 08/10/20 Page 7 of 8 Page ID #:7




  1   the ADA Standards.
  2     34. The Safe Harbor provisions of the 2010 Standards are not applicable
  3   here because the conditions challenged in this lawsuit do not comply with the
  4   1991 Standards.
  5     35. A public accommodation must maintain in operable working condition
  6   those features of its facilities and equipment that are required to be readily
  7   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
  8     36. Here, the failure to ensure that the accessible facilities were available
  9   and ready to be used by the plaintiff is a violation of the law.
 10
 11   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 12   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 13   Code § 51-53.)
 14     37. Plaintiff repleads and incorporates by reference, as if fully set forth
 15   again herein, the allegations contained in all prior paragraphs of this
 16   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 17   that persons with disabilities are entitled to full and equal accommodations,
 18   advantages, facilities, privileges, or services in all business establishment of
 19   every kind whatsoever within the jurisdiction of the State of California. Cal.
 20   Civ. Code §51(b).
 21     38. The Unruh Act provides that a violation of the ADA is a violation of the
 22   Unruh Act. Cal. Civ. Code, § 51(f).
 23     39. Defendants’ acts and omissions, as herein alleged, have violated the
 24   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 25   rights to full and equal use of the accommodations, advantages, facilities,
 26   privileges, or services offered.
 27     40. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 28   discomfort or embarrassment for the plaintiff, the defendants are also each


                                               7

      Complaint
Case 2:20-cv-07148-SVW-MRW Document 1 Filed 08/10/20 Page 8 of 8 Page ID #:8




  1   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
  2   (c).)
  3
  4             PRAYER:
  5             Wherefore, Plaintiff prays that this Court award damages and provide
  6   relief as follows:
  7           1. For injunctive relief, compelling Defendants to comply with the
  8   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
  9   plaintiff is not invoking section 55 of the California Civil Code and is not
 10   seeking injunctive relief under the Disabled Persons Act at all.
 11           2. Damages under the Unruh Civil Rights Act, which provides for actual
 12   damages and a statutory minimum of $4,000 for each offense.
 13           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 14   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 15
 16
      Dated: July 31, 2020                 CENTER FOR DISABILITY ACCESS
 17
 18
                                           By:
 19
 20                                        _______________________

 21                                               Russell Handy, Esq.
                                                  Attorney for plaintiff
 22
 23
 24
 25
 26
 27
 28


                                                 8

      Complaint
